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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-20079-CIV-SINGHAL/LOUIS

  BRUCE MUNRO and
  BRUCE MUNRO, LTD.,

            Plaintiffs,

  v.

  FAIRCHILD TROPICAL BOTANIC
  GARDEN, INC., et al.,

       Defendants.
  ______________________________/

                                                  ORDER

            THIS CAUSE is before the Court on Defendants’1 Motion for Partial Judgment on

  the Pleadings as to Statutory Damages and Attorneys’ Fees (DE [81]). Plaintiffs have

  filed a Response in Opposition (DE [85]), and Defendants have filed a Reply (DE [89]).

  For the reasons discussed below, the Court denies Defendants’ Motion.

       I.   BACKGROUND

            Plaintiffs filed a three-count Amended Complaint against Defendants for: (I)

  copyright infringement; (II) contributory copyright infringement; and (III) copyright

  management information (“CMI”) violations. Am. Compl. (DE [69]). Plaintiff Bruce Munro

  (“Munro”), an internationally acclaimed artist, creates light-based works and sculptural

  installations through his studio, Plaintiff Bruce Munro Ltd. Id. ¶ 20. Plaintiffs allege that

  Defendants commercially exploited and appropriated Munro’s U.S.-registered Forest of


  1The following Defendants join in this Motion: Fairchild Tropical Botanic Garden, Inc.; Night Garden, LLC;
  Kilburn Live, LLC; Nannette M. Zapata; Kilburn Media, LLC; Mark C. Manuel; Imaginer Ltd; Imaginer, Inc.;
  and Max Painter. The remaining Defendant, Zhongshan G-Lights Lighting Co., Ltd., has had a Clerk’s
  default entered against it. See (DE [44]).
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  Light sculptural work, his Field of Light sculptural work installed in the U.S., and several

  other foreign works. See id. ¶¶ 14, 60, 68; see also (DE [69-1]).

            Defendants allegedly created a seasonal “light-focused evening entertainment

  event” called “NightGarden,” hosted at Defendant Fairchild Tropical Botanic Garden. Am.

  Compl. ¶ 78 (DE [69]). Plaintiffs allege that Defendants intentionally infringed Munro’s

  U.S.-registered Forest of Light work and two foreign Field of Light works at NightGarden.

  Id. ¶¶ 135, 142. As remedies under counts I and II, Munro seeks actual damages and

  Defendants’ profits; statutory damages of up to $150,000 for infringement of Forest of

  Light; attorney’s fees and costs; and injunctive relief. Id. ¶¶ 163–64, 172–73. In their

  Answer, Defendants deny that they committed any copyright infringement, contributory

  copyright infringement, or CMI violations. Answer ¶¶ 155–78 (DE [71]).2 Defendants now

  move for partial judgment on the pleadings.

      II.   LEGAL STANDARD

            “After the pleadings are closed—but early enough not to delay trial—a party may

  move for judgment on the pleadings.” Fed. R. Civ. P. 12(c). “Judgment on the pleadings

  is appropriate when there are no material facts in dispute, and judgment may be rendered

  by considering the substance of the pleadings and any judicially noticed facts.”

  Medicomp, Inc. v. United Healthcare Ins. Co., 562 F. App’x 754, 756 (11th Cir. 2014)

  (quoting Hawthorne v. Mac Adjustment, Inc., 140 F.3d 1367, 1370 (11th Cir. 1998)). Like

  on a motion to dismiss, “the Court accepts all of the allegations in the complaint as true

  and construes them in the light most favorable to the nonmoving party.” Id. (citing In re


  2 After Defendants moved for judgment on the pleadings, they filed an Amended Answer and Affirmative
  Defenses (DE [92]) that conforms with the Court’s Order (DE [90]) partially granting and partially denying
  Plaintiffs’ Motion to Strike Affirmative Defenses (DE [76]). Defendants’ original Answer (DE [71]) is the
  operative pleading in ruling on this Motion for Partial Judgment on the Pleadings.

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  Northlake Foods, Inc., 715 F.3d 1251, 1255 (11th Cir. 2013)). “If a comparison of the

  averments in the competing pleadings reveals a material dispute of fact, judgment on the

  pleadings must be denied.” Garcon v. United Mut. of Omaha Ins. Co., 779 F. App’x 595,

  599 (11th Cir. 2019) (quoting Perez v. Wells Fargo N.A., 774 F.3d 1329, 1335 (11th Cir.

  2014)).

   III.   DISCUSSION

          Defendants argue that they are entitled to partial judgment on the pleadings for

  counts I and II because Plaintiffs cannot recover statutory damages or attorney’s fees for

  foreign or unregistered works and because, for the U.S.-copyrighted Forest of Light, the

  infringement started before registration and more than three months after publication.

  Defendants essentially seek partial judgment as to only remedies—pleaded in the

  alternative—in counts I and II. In response, aside from addressing the merits, Plaintiffs

  argue that Rule 12(c) does not allow the Court to enter a partial judgment as to a portion

  of a claim.

          The Court agrees with Plaintiffs that partial judgment on the pleadings is not

  appropriate here because it would not dispose of any single claim. Defendants ask the

  Court to make a finding as to one element, which itself is pleaded in the alternative. See

  Mot. for Judgment on the Pleadings 4 n.3 (DE [81]) (Defendants recognizing that Plaintiffs

  have an alternative remedy if the Court grants the Motion). This Court therefore aligns

  itself with other courts that have found that “judgment on the pleadings on something less

  than an entire cause of action [is] inappropriate.” Bolender v. Carnival Corp., 2014 WL

  12527190, at *1 (S.D. Fla. Apr. 7, 2014) (citing In re Amica, Inc., 130 B.R. 792, 796 (N.D.

  Ill. 1991)).



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         Indeed, Rule 12(c)’s language contains no provision for a “partial” judgment on the

  pleadings directed to only a portion of a single claim. See 10A Wright & Miller, Federal

  Practice & Civil Procedure § 2713 (4th ed. 2020); see also Kenall Mfg. Co. v. Cooper

  Lighting, LLC, 354 F. Supp. 3d 877, 894 (N.D. Ill. 2018) (“[Rule 12(c)]'s text does not

  explicitly authorize courts to carve up claims or defenses on a motion for judgment on the

  pleadings.” (citation omitted)). This is in contrast with the summary-judgment rule’s

  language, which allows a party to move for summary judgment on a “part of each claim

  or defense.” Fed. R. Civ. P. 56(a). “That the Civil Rules explicitly provide for summary

  judgment on part of a claim under Rule 56(a) but not for judgment on part of a claim under

  Rule 12(c) counsels strongly against reading Rule 12(c) to implicitly permit such

  judgments.” Kenall Mfg. Co., 354 F. Supp. 3d at 894 (citations omitted).

         It does not escape this Court’s attention that other courts have granted partial

  judgment on the pleadings as to a portion of a claim. See, e.g., S. All. for Clean Energy

  v. Fla. Power & Light Co., 16-23017-CIV, 2018 WL 4829218, at *3 (S.D. Fla. Aug. 10,

  2018), report and recommendation adopted, 2018 WL 4828434 (S.D. Fla. Sept. 12, 2018)

  (recommending grant of partial judgment on the pleadings as to allegations of violations

  of local water quality standards in counts I and III); Holm v. Pollack, 2000 WL 1689710,

  at *3 (E.D. Pa. Nov. 1, 2000) (granting defendant’s motion for partial judgment on the

  pleadings as to statutory damages and attorney’s fees under Copyright Act because

  pleadings indicated the plaintiff failed to satisfy three-month time limit); Lenhart v. Printing

  Indus. Ins. & Health Care Plan, 818 F. Supp. 331, 331 (M.D. Fla. 1993) (granting partial

  judgment on the pleadings as to plaintiffs’ punitive-damages claim as an ERISA remedy).




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         Nor does it escape the Court’s attention that the Eleventh Circuit has affirmed

  district courts’ grants of partial judgment on the pleadings where the issue of partial versus

  complete judgments was not specifically raised. See, e.g., Gemini Ins. Co. v. Castro, 723

  F. App’x 797, 801–02 (11th Cir. 2018); Payne v. Doco Credit Union, 734 F. App’x 623,

  627 (11th Cir. 2018); Barnwell v. Douglas Cty., 390 F. App’x 862, 864 (11th Cir. 2010).

  But, absent any express direction from the Eleventh Circuit construing Rule 12(c), this

  Court is not inclined to add meaning to Rule 12(c)’s plain text.

   IV.   CONCLUSION

         The Court need not reach the merits of Defendants’ arguments because Federal

  Rule of Civil Procedure 12(c) does not allow partial judgment on the pleadings as to a

  portion of a plaintiff’s claim. Accordingly, it is hereby

         ORDERED AND ADJUDGED that Defendants’ Motion for Partial Judgment on the

  Pleadings as to Statutory Damages and Attorneys’ Fees (DE [81]) is DENIED.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 3rd day of

  March 2021.




  Copies furnished to counsel via CM/ECF




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